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                                                                                E-FILED
                                                      Friday, 22 March, 2013 02:46:17 PM
                                                            Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
 FOR THE CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )
            v.                           )      No. 12-cr-30042
                                         )
REGINA R. EVANS,                         )
                                         )
                 Defendant.              )

                                 OPINION

BYRON G. CUDMORE, U.S. MAGISTRATE JUDGE:

     This matter comes before the Court on Defendant’s Motion to Allow

Witness to Testify Via Videoconference Equipment (d/e 43) (Motion). For

the reasons set forth below, the Motion is ALLOWED.

                              BACKGROUND

     On April 4, 2012, Defendant Regina Evans was charged with mail

fraud and money laundering, in violation of 18 U.S.C. §§ 1341 and 1957.

On April 20, 2012, Regina Evans made her first appearance, entered a

plea of not guilty, and was released on bond. Minute Entry entered April

20, 2012.

     On March 15, 2013, Regina Evans was charged in a Criminal

Complaint with conspiracy to commit witness tampering and obstruction of

justice, in violation of 18 U.S.C. §§ 371, 1503(a), and 1512(b)(1). United
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States v. Evans, Case no. 13-mj-2013 (2013 Case), Criminal Complaint

(Docket 13-mj-03013 d/e 1) (Criminal Complaint). On March 15, 2013,

Regina Evans appeared in the 2013 Case, was made aware of the charges

and was detained temporarily. Regina Evans asked for a continuance on

the preliminary hearing and detention hearing, which the Court allowed.

The Court continued the preliminary hearing and detention hearing to

March 25, 2013, at 10:30 a.m. 2013 Case Minute Entry entered March 15,

2013.

        On March 15, 2013, the Government filed a Motion to Revoke Bond

(d/e 42), seeking to revoke Regina Evans’ bond in this case based on the

averments in the Affidavit (Affidavit) supporting the Criminal Complaint.

This Court set the Motion to Revoke Bond for hearing on March 25, 2013,

at 10:30 a.m., to be heard along with the preliminary hearing and the

detention hearing in the 2013 Case.

        On March 20, 2013, Regina Evans filed a motion to allow a witness to

testify by videoconference. Regina Evans subpoenaed a witness, Ashley

Simon, to testify at the March 25th hearing. Simon lives in Chicago.

Simon’s lawyer informed defense counsel that Simon is suffering from a

difficult pregnancy and would have difficulty traveling to Springfield for the

hearing. She requested to testify by videoconference. She asked to

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appear at a courtroom in the U.S. District Court for the Northern District of

Illinois and testify from that location. Regina Evans has presented this

request to the Court.

      The Government objects unless Regina Evans identifies the matter

on which Simon will testify and demonstrates that the testimony will be

relevant to the issue of probable cause. Simon is a potential witness in the

2013 Case, and the Government objects to Regina Evans questioning

Simon under oath in order to conduct discovery in the 2013 Case rather

than address the issues relevant to the hearing in this case. Simon’s

statements to law enforcement officials and her cooperation in recording

conversations with Regina Evans form the basis of most of the averments

in the Affidavit. The Government argues that a defendant is not allowed to

use a preliminary hearing to conduct discovery. See United States v.

Wilkins, 422 F. Supp. 1371, 1374 (D. Pa. 1976) judgment vacated on other

grounds, 441 U.S. 468 (1979) (per curiam). The Government does not

raise any objection to the requested method of testimony by video

conference.

      Regina Evans responds that she is allowed to call witnesses at

preliminary hearings and detention hearings. See 18 U.S.C.




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§ 3142(f)(2)(B) and Fed. R. Crim. P. 5.1(e). Regina Evans also states that

Simon will also testify concerning the credibility of the statements in the

affidavit supporting the Criminal Complaint in the 2013 Case, and about her

relationship with Regina Evans, and whether Simon perceives any threat to

her safety from Regina Evans because she is a potential witness in the

2013 Case.

      Upon careful consideration, the Court finds that the Motion should be

allowed over the Government’s objections. The request to revoke bond is

based on the averments of witness tampering and obstruction of justice in

the Affidavit. See 18 U.S.C. § 3142(f)(2)(B). The Government, further,

intends to rely on the Affidavit to establish probable cause in the 2013

Case. Government’s Response to Defendant Evans’ Motion to Allow

Testimony of Witness Via Videoconference (d/e 45), at 3. Simon has

personal knowledge regarding the credibility of many of the averments in

the Affidavit. Simon, therefore, may be able to offer relevant testimony on

the credibility of those averments. The risk that Regina Evans is a danger

to the community, and particularly to Simon, is also relevant to the question

of revocation of the bond. See 18 U.S.C. §§ 3142(f)(2)(B) and 3142(g).

Simon, therefore, may also testify about this issue.




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        The Government vigorously argues in its Sur-reply that the Defendant

is only calling Simon as a witness to conduct discovery. See Government’s

Sur-reply (d/e 49), at 2-4. The Court agrees that some of the areas of

inquiry listed by Regina Evans in her reply are beyond the proper scope of

the relevant issues at the March 25th hearing. See Defendant’s Response

to Government’s Motion to Preclude Testimony of Witness (d/e 46) (Evans

Reply), at 2-5.1 Still, Defendant Regina Evans is entitled by rule and

statute to call witnesses, and Simon has personal knowledge of matters

relevant to the issues that will be before the Court at the hearing. The

Government, further, has no objection to Simon testifying by

videoconference. The Court, therefore, will allow the testimony by

videoconference.

        The Court, however, also agrees with the Government that the

hearing should not be used to conduct discovery. Regina Evans’ direct

examination of Simon will be limited to the credibility of the averments in

the Affidavit and to the risk of danger to Simon from Defendant Regina

Evans. Counsel for Regina Evans will not be allowed to inquire into other

areas, including but not limited to, other conversations that are not set forth

in the Affidavit that Simon may have had with law enforcement officials or

1
 The Court refers to the pagination placed on the response by the Court’s CM/ECF electronic filing
system because the pages of the response are not numbered.
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others (including any Defendant or any defense counsel) and the facts and

circumstances of such other conversations, other tape recorded

conversations that are not mentioned in the Affidavit and the facts and

circumstances of such recordings, any agreements or negotiations that

Simon may have had with the Government or law enforcement officials,

and any matters regarding any “lack of any constitutional safeguards she

was given when she was launched at the represented defendant by the

government.” Evans Reply, at 5. As Defendant Regina Evans concedes,

the issue of the legality of the evidence used to establish probable cause is

not relevant for the hearing on March 25th. Evans Reply, at 4. The only

issues identified by Regina Evans to which Simon may testify are the

credibility of the Averments in the Affidavit and the risk of danger to Simon

by Regina Evans.

      The Court further notes that Simon’s counsel should confer with

Simon regarding her current circumstance and her Fifth Amendment right

not to testify against herself. The Affidavit indicates that Simon may be at

risk for some criminal liability. Simon’s counsel, therefore, should

thoroughly explain her position and her rights under the Fifth Amendment

so that she may carefully consider her rights regarding answering




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questions. Given the risk of self-incrimination, her counsel will be allowed

to appear at the hearing with her via videoconference to advise her.

      WHEREFORE Defendant Regina Evans’ Motion to Allow Witness to

Testify Via Videoconference Equipment (d/e 43) is ALLOWED. Counsel for

Defendant Regina Evans is directed to contact the Clerk’s Office for this

District, the Clerk’s Office for the U.S. District Court for the Northern District

of Illinois, and counsel for witness Simon to arrange for the appearance of

witness Simon by videoconference at the hearing scheduled before this

Court on March 25, 2013, at 10:30 a.m. Defense counsel is further

directed to provide Simon’s counsel with a copy of this Opinion.

ENTER:     March 22, 2013



                                        s/ Byron G. Cudmore
                                  UNITED STATES MAGISTRATE JUDGE




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